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Richard S. Yugler, OSB # 804167
ryugler@lbblawyers.com
LANDYE BENNETT BLUMSTEIN LLP
1300 SW 5th Avenue, Suite 3600
Portland, OR 97201
Telephone: (503) 224-4100
Facsimile: (503) 224-4133

Of Attorneys for Plaintiff




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION

 JOHN DOE,                                                          Case No. 6:17-cv-01103-MK

                 Plaintiff,

        v.                                             STIPULATION AND ORDER
                                                       REGARDING AUTHENTICITY
 UNIVERSITY OF OREGON,                                 AND ADMISSION OF
                                                       DOCUMENTS
                 Defendant.


       The parties to this action, by and through their counsel, stipulate and agree as follows:

       1.       Documents produced by the parties in this action pursuant to Fed.R.Civ.P.34

document requests shall be deemed genuine and authentic for the purpose of this lawsuit only,

absent good cause. Good cause would include issues relating to the completeness of the document

(e.g., relevant missing or incomplete pages) and any conditions in the actual document or the

manner in which it was produced that brings into question whether the document was actually in

the care, custody, control or possession of the producing party.



1 – STIPULATION AND ORDER REGARDING AUTHENTICITY AND
    ADMISSION OF DOCUMENTS
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       2.      Documents identified on the attached Master Exhibit List are exceptions to the rule

against hearsay as either:

               a. Business records under FRE 803(6) in that such records:

                  i.   That have been sent, received, generated or maintained in the regular course
                       of business or in the regular course of a regularly conducted activity;
                 ii.   For which it is or was the practice of the producing party to send, receive,
                       or generate and maintain in the regular course of its business or in the course
                       of its regularly conducted activity;
                iii.   That were received, sent, or generated and maintained by someone with
                       personal knowledge of the documents’ contents or from information
                       transmitted by a person with personal knowledge of the contents of the
                       documents; and
                iv.    That were sent, received, or generated and maintained at or near the time of
                       the information set forth in the documents;
       or
               b. Evidence of state of mind under FRE 803(3) in that such document contains:

                  i.   A statement of the declarant’s then-existing state of mind, or
                 ii.   A statement of the declarant’s then-existing emotional condition or sensory
                       perception, such as mental feeling; or
                iii.   A statement of the declarant’s physical condition, such as pain or bodily
                       health;
       or
               c. Expression of a present sense impression under FRE 803(1) in that the
                  document sets forth:

                  i.   A statement describing or explaining an event or condition; and
                 ii.   The statement was made while or immediately after the declarant perceived
                       it.

       3.      All objections to the admissibility of exhibits contained in the attached Master

Exhibit List, including grounds of authenticity, hearsay, double hearsay, lack of foundation,

improper opinion, are waived. The parties reserve objections to admissibility, based on relevancy

under FRE 401, and based on prejudice, confusion, wasting time or cumulative evidence under

FRE 403, and based on FRE 409 concerning the furnishing of expenses.

       4.      This stipulation does not apply to documents that any party now or later contends



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are privileged or were inadvertently produced.

       5.      This stipulation does not apply to any reports written by experts or expert witnesses

retained in connection with or identified in the course of this proceeding;

       6.      This stipulation does not apply to deposition transcripts, except to the extent that

testimony from a transcript has been designated by one or both parties and except to the extent that

any objections to such designated testimony is overruled.

       7.      This stipulation does not in any way affect the way in which treatment of designated

“Confidential” documents are admitted in accordance with the procedures and rules set forth in

the Stipulated Protective Order dated October 25, 2018 (Dkt #42).


IT IS SO STIPULATED.

LANDYE BENNETT BLUMSTEIN LLP                         HERSHNER HUNTER, LLP


s Richard S. Yugler                                  s/ Amanda M. Walkup
Richard S. Yugler, OSB #804167                       Amanda M. Walkup
Attorney for Plaintiff                               Of Attorneys for Defendant

IT IS SO ORDERED.

DATED: March 26, 2020.



                                              s/ Mustafa T. Kasubhai
                                              Mustafa T. Kasubhai, Magistrate Judge




3 – STIPULATION AND ORDER REGARDING AUTHENTICITY AND
    ADMISSION OF DOCUMENTS
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